              EXHIBIT B




Case 2:18-cv-01996-JPS Filed 03/03/20 Page 1 of 3 Document 151-2
          EASY OPEN LIFT AND PULL TAB TO YOUR RIGHT
                    DO NOT CUT




                                                                                                                                                                    85 15 0

                                                                                                                                                                                                                 ZINC OUR ONLY
                                                                                                                                                                                                                 SUPPLEMENT
                                                                                                                               WHOLEPREY           DIET             MEAT | FISH | EGG            VEGETABLES | FRUITS |               GRAIN | POTATO | TAPIOCA |
                                                                                                                                                 TM



                                                                                                                                 MEAT | ORGANS | CARTILAGE          INGREDIENTS                  BOTANICALS                          PLANT PROTEIN CONCENTRATES

AMERICA’S VAST AND FERTILE LANDS – OUR SOURCE OF INSPIRATION AND FRESH REGIONAL INGREDIENTS                                      FRESH, RAW OR DEHYDRATED ANIMAL INGREDIENTS | NO RENDERED MEAT, FISH OR POULTRY MEALS




                Regional Red                                          BIOLOGICALLY APPROPRIATE DOG FOOD                                                                  TM




                                                  MADE WITH REGIONAL INGREDIENTS DELIVERED FRESH OR RAW DAILY
                                          ANGUS BEEF, SUFFOLK LAMB, MUTTON, WILD CATFISH, YORKSHIRE PORK AND BOER GOAT




                                                  BIOLOGICALLY APPROPRIATE™           NO RENDERED MEALS        TOP 10 FRESH OR RAW             WHOLEPREY™ DIET                FREEZE-DRIED TRIPE
                                               PROTEIN-RICH | CARBOHYDRATE-LIMITED*   NO MEAT OR FISH MEAL   PREMIUM ANIMAL INGREDIENTS      MEAT | ORGANS | CARTILAGE     INFUSED FOR NATURAL FLAVOR




                                                   MADE IN OUR                                                PREPARED WITH PRIDE FROM TRUSTED REGIONAL INGREDIENTS
                                                                                           KENTUCKY KITCHENS *MAXIMUM 20% CARBOHYDRATE (AS ESTIMATED BY NFE)




                                                                                                                                                                              NET WEIGHT 13LB 5.9KG
                                         Regional Red         BIOLOGICALLY APPROPRIATE DOG FOOD      TM                                                                         WHOLEPREY DIET
                                                                                                                                                                                          TM

                                                                                                                                                                                                   85 15 0                       DOG FOOD
                                                                                                                                                                                                                                 FOR ALL BREEDS AND LIFE STAGES




                                                                   Case 2:18-cv-01996-JPS Filed 03/03/20 Page 2 of 3 Document 151-2
                                                                                                                                                                                                                                                     CPFB00077
                                                                                                                                                                                                                   AWARD-WINNING BIOLOGICALLY APPROPRIATE TM DOG FOOD

                                                                                                                                                                                                  2014
                                                                                                                                                                                                  LEADERSHIP
                                                                                                                                                                                                                    2015
                                                                                                                                                                                                                      ALBERTA
                                                                                                                                                                                                                                         2015                   2015                     2015                        2015–2016
                                                                                                                                                                                                                                                                                                                  EXCELLENCE IN
                                                                                                                                                                                                                                        ALBERTA EXPORT         TOP 10 BEST              INNOVATION               CANINE PET FOOD
                                                                                                                                                                                                    AWARDS           AWARD OF             AWARD FOR          DOG FOOD BRANDS              AWARD
                                                                                                                                                                                               “FOOD INNOVATION”    DISTINCTION       CONSUMER PRODUCTS             REVIEWS.COM          PETFOOD & ANIMAL
                                                                                                                                                                                                                                                                                                                 GLYCEMIC RESEARCH INSTITUTE
                                                                                                                                                                                                                                                                                           NUTRITION 2.0               WASHINGTON DC




TRUSTED EVERYWHERE.                                                                                                                                                                                                         BIOLOGICALLY APPROPRIATE           TM


                                                                                                                                                                                                                            NOURISH AS NATURE INTENDED – ORIJEN mirrors the
                                                                                                                                                                                                                            richness, freshness and variety of WholePreyTM meats that
TRUSTED BY PET LOVERS EVERYWHERE, ORIJEN IS THE FULLEST EXPRESSION OF OUR                                                                                                                                                   dogs are evolved to eat.

BIOLOGICALLY APPROPRIATE™ AND FRESH REGIONAL INGREDIENTS COMMITMENT.
That’s why ORIJEN REGIONAL RED is brimming with unmatched inclusions of Angus beef,
Suffolk lamb, wild-caught Blue catfish, Yorkshire pork and Boer goat, sustainably ranched or                                                                                                                                FRESH REGIONAL INGREDIENTS
fished in our region and delivered daily — FRESH or RAW and preservative-free, so they’re                                                                                                                                   GROWN CLOSE TO HOME – We focus on local ingredients
                                                                                                                                                                                                                            that are ethically raised by people we know and trust, and
bursting with goodness and taste.                                                                                                                                                                                           delivered to our kitchens fresh or raw each day.

Prepared exclusively in our Kentucky DogStar ® kitchens, award-winning ORIJEN is
guaranteed to keep your cherished dog healthy, happy and strong.
                                                                                                                                                                                                                            NEVER OUTSOURCED
                                        Reinhard Muhlenfeld                                                                                                                                                                 PREPARED EXCLUSIVELY IN OUR DOGSTAR ® KITCHENS –
                                                                                                                                                                                                                            We don’t make foods for other companies and we don’t
                                        Founder                                                                                                                                                                             allow our foods to be made by anyone else.




                                                                                                                                                                                                                            AWARD-WINNING BIOLOGICALLY APPROPRIATE TM DOG FOOD

                                                                                                                                                                                                                           ORIJEN REGIONAL RED
                                                                                                                                                                                                                            OUR BIOLOGICALLY APPROPRIATE™ PHILOSOPHY IS
                                                                                                                                           OUR DOGSTAR
                                                                                                                                                                                    ®
                                                                                                                                                                                                                            SIMPLE: MIRROR THE QUANTITY, FRESHNESS AND



                                                                                                                                        KITCHENS
                                                                                                                                                                                                                            VARIETY OF MEATS YOUR DOG IS EVOLVED TO EAT.
                                                                                                                                                                                                                            That’s why ORIJEN REGIONAL RED is loaded with Angus
                                                                                                                                                                                                                            beef, Suffolk lamb, Yorkshire pork and Boer goat —
                                                                                                                                                                                                                            grass-fed on Kentucky ranches and delivered FRESH or
                                                                                                                                                AWARD-WINNING FOODS
                                                                                                                                               AWARD-WINNING KITCHENS                                                       RAW, in richly nourishing WholePrey™ ratios.
                                                                                                                                                                                                                            Award-winning ORIJEN keeps your dog happy and strong.
                                                                                                                                                                                                                            Read our ingredients and you’ll feel happy too!

                                   PEOPLE WE                                                                                                                                                                                INGREDIENTS




                           TRUST
                                                                                                                        JOVELYN AND KIMBERLY, FOOD PACKAGING TECHNICIANS. OUR KENTUCKY DOGSTAR® KITCHENS.                   Deboned beef, deboned lamb, deboned mutton, green
                                                                                                                                                                                                                            beef tripe, lamb liver, whole blue catfish, beef liver,
                                                                                                                                                                                                                            deboned pork, whole atlantic mackerel, beef kidney,
                                                                                                                                                                                                                            dehydrated beef, dehydrated whole egg, dehydrated
                                                                                                                                                                                                                            pork, dehydrated beef liver, dehydrated lamb, whole
                                                                                                                                                                                                                            green peas, whole navy beans, red lentils, beef heart,
                                 INGREDIENTS WE LOVE                                                                                                                                                                        pork liver, pork kidney, deboned goat, chickpeas, green
                            FROM PEOPLE WE KNOW AND TRUST                                                                                                                                                                   lentils, ground lamb bone, pinto beans, alfalfa, natural

                                                                                                                                               FRESH AND
                                                                                                                                                                                                                            pork flavor, beef fat, beef cartilage, pork cartilage, green
                                                                                                                                                                                                                            lamb tripe, herring oil, dried kelp, whole pumpkin,


                                                                                                                                        REGIONAL
                                                                                                                                                                                                                            whole butternut squash, kale, spinach, mustard greens,
                                                                                                                                                                                                                            collard greens, turnip greens, whole carrots, apples,
                                                                                                                                                                                                                            pears, freeze-dried beef liver, freeze-dried beef tripe,
                                                                                                                                                                                                                            freeze-dried lamb liver, freeze-dried lamb tripe,
                                                                                                                                                DELIVERED DAILY FROM                                                        pumpkin seeds, sunflower seeds, zinc proteinate, mixed
                                                                                                                                              LOCAL FARMS AND RANCHES                                                       tocopherols (preservative), chicory root, turmeric,
                                                                                                                                                                                                                            sarsaparilla root, althea root, rosehips, juniper berries,
                                                                                                                                                                                                                            dried lactobacillus acidophilus fermentation product,
                                                                                                                                                                                                                            dried bifidobacterium animalis fermentation product,
                                                                                                                                                                                                                            dried lactobacillus casei fermentation product.
                                                                                                                                                                                                                            GUARANTEED ANALYSIS
            JONATHAN OF JSW FARMS IN LIBERTY, KENTUCKY. TRUSTED SUPPLIER OF FRESH LOCAL BEEF.                                        GRASS-FED KENTUCKY LAMB. DELIVERED FRESH OR RAW DAILY.                                 Crude protein (min.)                              38 %
                                                                                                                                                                                                                            Crude fat (min.)                                  18 %
                                                                                                                                                                                                                            Crude fiber (max.)                                 4%
                                                                                                                                                                                                                            Moisture (max.)                                   12 %
                                                                           THIS 13LB PACKAGE OF ORIJEN IS MADE WITH OVER                                                                                                    Calcium (min.)                                     1%
                                                                                                                                                                                                                            Phosphorus (min.)                                0.8 %
    11 LB* OF FRESH, RAW OR DEHYDRATED ANIMAL INGREDIENTS *APPROXIMATE INCLUSIONS.                                                                                    2/3 FRESH OR RAW. 1/3 DRIED OR OILS.                  Omega-6 fatty acids* (min.)
                                                                                                                                                                                                                            Omega-3 fatty acids* (min.)
                                                                                                                                                                                                                                                                             2.8 %
                                                                                                                                                                                                                                                                            0.75 %
                                                                                                                                                                                                                            DHA* (docosahexaenoic acid) (min.)              0.15 %
                                                                                                                                                                                                                            EPA* (eicosapentaenoic acid) (min.)             0.15 %
                                                                                                                                                                                                                            Glucosamine* (min.)                         500 mg/kg
                                                                                                                                                                                                                            Chondroitin sulfate* (min.)                 400 mg/kg
                                                                                                                                                                                                                           *not recognized as an essential nutrient by the AAFCO
           4 1/2 LB*                              2 LB*                                  /2 LB*
                                                                                         1
                                                                                                                      1 LB*                             2 1/4 LB*                          1
                                                                                                                                                                                              /3 LB*                        Dog Food Nutrient Profiles
        FRESH OR DEHYDRATED                 FRESH OR DEHYDRATED                        FRESH OR RAW                FRESH OR RAW                      FRESH OR DEHYDRATED                 FRESH OR RAW
                                                                                                                                                                                                                            CALORIE CONTENT
       BEEF, ORGANS, CARTILAGE                LAMB AND ORGANS                       MUTTON AND ORGANS        WHOLE CATFISH AND MACKEREL            PORK, ORGANS, CARTILAGE                    BOER GOAT
                                                                                                                                                                                                                            Calorie content (calculated): ME 3940 kcal/kg, 449 kcal per 8oz. cup.

                                                                                          PLUS 14 WHOLE DEHYDRATED EGGS*                                                                                                    Calories distributed to support peak conditioning with 39% from
                                                                                                                                                                                                                            protein, 20% from vegetables and fruits, and 41% from fat.

                                                                                                                                                                                                                            ORIJEN REGIONAL RED DOG FOOD IS FORMULATED TO MEET
                                                                                                                                                                                                                            THE NUTRITIONAL LEVELS ESTABLISHED BY THE AAFCO

                         WHOLEPREY™ DIET                                                                                   NO RENDERED MEAT MEALS
                                                                                                                                                                                                                            DOG FOOD NUTRIENT PROFILES FOR ALL LIFE STAGES.


                         MEAT | ORGANS | CARTILAGE                                                                         MADE WITH FRESH, RAW OR DEHYDRATED ANIMAL INGREDIENTS                                                                                                  REGIONAL RED FOR DOGS
                                                                                                                                                                                                                            MADE BY CHAMPION PETFOODS USA INC.
                                                                                                                                                                                                                                                                                  13LB | 5.9KG
     IN HER INFINITE WISDOM, MOTHER NATURE MATCHED THE                                                      RENDERED MEAT MEALS ARE PROCESSED AT HIGH TEMPERATURES,
                                                                                                                                                                                                                            12871 BOWLING GREEN ROAD


                                                                                                                                                                                                                                                                                      FPO
     NUTRIENTS IN WHOLE PREY ANIMALS TO PERFECTLY MEET YOUR                                                 TYPICALLY FROM INGREDIENTS UNFIT FOR HUMAN CONSUMPTION.                                                         AUBURN, KENTUCKY 42206
     DOG’S DIETARY NEEDS.                                                                                   ORIJEN features FRESH, RAW or DEHYDRATED animal ingredients,
     That’s why ORIJEN features richly nourishing ratios of meat, organs                                    minimally processed at lower temperatures from meat, fish and eggs that
                                                                                                                                                                                                                            CHAMPIONPETFOODS.COM
     and cartilage, plus whole fish and eggs, providing a concentrated                                      are deemed fit for human consumption prior to inclusion in our foods.                                           EU REG.
     source of virtually every nutrient your dog needs to thrive, naturally,                                                                                                                                                CUSTOMER CARE (USA)
                                                                                                                                                                                                                                                                                  ORIJEN.CA                 OD_001
                                                                                                                                                                                                                            TOLL FREE 1.877.939.0006
     without long lists of synthetic supplements — only zinc is added.                                       MADE IN OUR                        KENTUCKY KITCHENS                                                                             FOLLOW US ONLINE
                                                                                                                                                                                                                                                  @ORIJENPETFOOD
                                                                                                                                                                                                                                                  @CHAMPIONPETFOOD




                                                                                        Case 2:18-cv-01996-JPS Filed 03/03/20 Page 3 of 3 Document 151-2
                                                                                                                                                                                                                                                                                                                CPFB00078
